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behavior by a private party seeking to secure evidence against a defendant does not make that

evidence inadmissible under the Due Process Clause." Connelly, 419 U.S. at 166.25

         Defendant's contention that his 2019 statements to journalists from various media outlets

(including CNN, ITV News, and the Washington Post) should be suppressed as the involuntary

products of torture by the SDF is unpersuasive. As an initial matter, it is far from clear that the

alleged treatment by the SDF meets the threshold requirement of state action, which the Supreme

Court set forth in Connelly as a predicate for exclusion of a purportedly involuntary confession.26

But even assuming that this threshold requirement is satisfied here, the record clearly reflects

that the Government has amply carried its burden to prove that Defendant's will was not

overbome and therefore that his statements were voluntary by a preponderance of the evidence.

First, Defendant's claim that he was subjected to repeated, extreme physical abuse by SDF

personnel is supported by little more than Defendant's own uncorroborated words, and is

rebutted by a great deal of credible witness testimony and other record evidence. For instance,

Defendant's signed declaration alleges that SDF officials severely beat Defendant at each of the

Ayn Issa, Kobani, and Derik Prisons, but witnesses from the DOD, FBI, and SDF who interacted

with Defendant at each of those facilities all credibly testified that they did not receive any



25 In this respect,the Connelly Court persuasively noted that the purpose of excluding evidence seized in violation of
the Constitution is to deter future violations, and therefore excluding statements based on the conduct of private
parties "would serve absolutely no purpose in enforcing constitutional guarantees." Connelly, 479 U.S.at 166.
26
  As the record makes clear, the SDF is an ad hoc Kurdish military force which sprang up to combat ISIS in an
autonomous region of Syria. The SDF is not a component of the Syrian regime or any other formal state; nor does
the record contain a scintilla of evidence that the SDF committed torture at the behest of or in concert with the
United States or any other recognized state. Furthermore, it is important to note that Defendant, under his
involuntariness argument, seeks to suppress statements made to media outlets in 2019. Accordingly, the relevant
questioning of Defendant was also conducted by purely private individuals, namely journalists not affiliated with
any government. Put simply,it is difficult to see how Defendant alleges anything more than "outrageous behavior by
...private part[ies]," which is insufficient to support constitutionally-required exclusion. Connelly, 479 U.S.at 166.


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